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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                             NORTHWESTERN DIVISION

United States of America,            )
                                     )
              Plaintiff,             )       ORDER RE SUBSTITUTION OF DEFENSE
                                     )       COUNSEL
       vs.                           )
                                     )
Michael John Gietl,                  )       Case No. 4:15-mj-100
                                     )
              Defendant.             )


       The court, pursuant to 18 U.S.C. § 3006A, appointed Assistant Federal Public Defender

William Schmidt to represent defendant in this matter. The court now appoints attorney Ashley

Flagstad to represent defendant, substitutes her as defense counsel of record and permits Mr.

Schmidt to withdraw

       IT IS SO ORDERED.

       Dated this 14th day of July, 2015.

                                                   /s/ Charles S. Miller, Jr.
                                                   Charles S. Miller, Jr., Magistrate Judge
                                                   United States District Court
